           Case 5:19-cr-00787-FB Document 48 Filed 12/15/22 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

USA                                               §
                                                  §
vs.                                               § NO: SA:19-CR-00787(1)-FB
                                                  §
(1) Juan Gerardo Trevino-Chavez                   §

                         ORDER GRANTING CONTINUANCE AND
                           AMENDING SCHEDULING ORDER

       The matter before the Court is Defendant's Unopposed Motion for Continuance filed

December 15, 2022 [# ORAL ]. After reviewing the motion, it is the opinion of the Court that the

trial in this case should be and is continued and makes the following amended schedule:

                The deadline for notifying the Court of any plea agreement entered into by
       the parties in this cause is Friday, November 24, 2023. No plea agreement entered
       into after that date shall be honored by this Court without good cause shown for the
       delay.

              Docket call AND REARRAIGNMENT AND PLEA are reset for
       Tuesday, November 28, 2023 at 9:00 AM in Courtroom G on the 3rd
       Floor of the United States Federal Courthouse, 262 W. Nueva Street, San Antonio,
       TX . (Guilty plea will be taken at docket call – no other order will be sent.) DO
       NOT ASSUME A CONTINUANCE IS GRANTED -- YOU MUST HAVE A
       SIGNED ORDER BY THE COURT OR HAVE RECEIVED A CALL
       FROM THE COURTROOM DEPUTY OR COURT STAFF ADVISING OF
       SAME.

               Jury selection and trial are reset for Monday, December 04 2023 at 09:00
       AM Courtroom G, on the 3rd Floor of the United States Federal Courthouse, 262 W.
       Nueva Street, San Antonio, TX . Motions to Suppress will be heard immediately
       prior to jury selection or will be carried with the trial unless otherwise ordered by the
       Court.

   The Court finds that the period between Monday, September 11, 2023 and Monday, December

04, 2023 is a reasonable period of necessary delay to allow counsel time for preparation for

trial. The Court further finds that the interest of justice served by taking this action outweighs
            Case 5:19-cr-00787-FB Document 48 Filed 12/15/22 Page 2 of 2




the best interest of the public and the defendant in a speedy trial, and further finds that such

period shall be excluded from the time within which the defendant must be brought to trial

under the Speedy Trial Act pursuant to 18, United States Code, Section 3161(h)(7).

         AS A REMINDER TO THE ATTORNEY FOR DEFENDANT: If your client is in

custody, arrangements should be made with the U.S. Marshal Service prior to the date of jury

selection and trial to ensure your client has proper attire. In addition, whenever defendants or

witnesses have a need for the services of the court interpreter, please notify Jaemie Herndon,

Courtroom Deputy to Judge Biery, 210/472-6550, ext. 5005, no later than five (5) days before this

court setting.

         All exhibits shall be marked with both the case and exhibit numbers by counsel prior to

trial.

         The Clerk of Court shall send a copy of this order to the United States Attorney, attorney for

defendant, United States Marshal, United States Probation Officer, and Pretrial Services Officer.

Counsel for defendant shall notify defendant of this setting and, if defendant is on bond, advise

the defendant that he/she must be present for all court settings unless excused by the Court. If

defendant is in state custody, or a writ required, the Assistant United States Attorney shall

immediately prepare and file with the Clerk’s Office the appropriate application and order.

         IT IS SO ORDERED this 15th day of December, 2022.

                                                     ______________________________
                                                     FRED BIERY
                                                     UNITED STATES DISTRICT JUDGE
